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AO 187 (Rev. 7/87) Exhibit and Witness List


                                                   United States District Court
     ----------------------------------------------------------------DISTRICT OF---------------------------------------------------------------

                                                                                             EXHIBIT LIST
USA
               v.
Nicholas Languerand                                                                Case Number:         4:21cr 183
 Presiding Judge                              Government’s attorney                            Defendant’s Attorney
                                              Elliott Daniels
 Thomas E Rogers III                                                                           AFPD Michael Meetze

 Hearing Date                                 Court Reporter                                   Courtroom Deputy

 April 20, 2021                               L Gibbons, Court Smart                           Sharon Welch-Meyer


  Gov        Def.           Date
  No.        No.           Offered            Marked        Admitted                 Description of Exhibits and Witnesses

 1                                                          x                video

 2                                                          x                video

 3                                                          x                photos of defendant

 4                                                          x                photo of LWT tunnel

 5                                                          x                photo of LWT tunnel

 6                                                          x                map showing LWT tunnel

 7                                                          x                US Capitol restricted area

 8                                                          x                State of Vermont Petition for Protective Order

 9                                                          x                Final order of protection

 10                                                         x                May 2020 report

 11                                                         x                Morristown PD report

 12                                                         x                Hardwick PD report

 13                                                         x                August 2020 police report

 14                                                         x                Morristown PD Report

 15                                                         x                photos/residence

 16                                                         x                photos

 17                                                         x                defendant’s cell phone

 18                                                         x                defendant’s writings



* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                              Page 1 of _____
